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                                                                                                                     E-FILED
                                                                                Thursday, 10 October, 2024 09:28:48 AM
                                                                                           Clerk, U.S. District Court, ILCD


                                 UNITED STATES DISTRICT COURT
SHIG YASUNAGA                                                                                          TEL: 217.492.4020
 CLERK OF COURT                      CENTRAL DISTRICT OF ILLINOIS                                      FAX: 217.492.4028
                                            OFFICE OF THE CLERK


                                               October 10, 2024


   Lucas Wood R64297
   Big Muddy River Correctional Center
   251 North Illinois Highway 37
   Ina, IL 62846

            RE:       Wood v. Ek et al
                      Case No. 21-CV-2254

   Dear Lucas Wood:

          NOTICE IS HEREBY GIVEN that a motion for summary judgment has been filed. See,
   Fed.R.Civ.P.56. Please be advised that you have twenty-one (21) days from the date of service to
   respond to the motion. If you do not respond, the motion, if appropriate, will be granted and the
   case will be terminated without a trial. See, generally, Lewis v. Faulkner, 689 F. 2d 100 (7th Cir.
   1982); Timms v. Frank, 953 F. 2d 281 (7th Cir. 1992).

           When a motion for summary judgment is made and properly supported, you must not
   simply rely upon the allegations made in your complaint. Rather, you must respond by affidavit(s)
   or as otherwise provided in Rule 56 of the Federal Rules of Civil Procedure, a copy of which is
   attached. Your response must set forth specific facts showing that there is a genuine issue of
   material fact for trial. If you do not submit affidavits or other documentary evidence contradicting
   the defendants' assertions, the defendants' statement of facts will be accepted as true for purposes
   of summary judgment. See Fed. R. Civ. P 56(e)(attached).


                                                      s/Shig Yasunaga
                                                      Shig Yasunaga
                                                      Clerk, U.S. District Court

   cc: all counsel




         Peoria Division           Urbana Division             Springfield Division          Rock Island Division
         100 N.E. Monroe St.       201 S. Vine St.             600 E. Monroe St.             322 16th Street,
         Room 309                  Room 218                    Room 151                      Suite 200A
         Peoria, IL 61602          Urbana, IL 61802            Springfield, IL 62701         Rock Island, IL 61201
         309.671.7117              217.373.5830                217.492.4020                  309.793.5778
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Federal Rules of Civil Procedure

RULE 56 Summary Judgment

       (a)    Motion for Summary Judgment or Partial Summary Judgment. A party may
              move for summary judgment, identifying each claim or defense — or the part of
              each claim or defense — on which summary judgment is sought. The court shall
              grant summary judgment if the movant shows that there is no genuine dispute as
              to any material fact and the movant is entitled to judgment as a matter of law. The
              court should state on the record the reasons for granting or denying the motion.
       (b)    Time to File a Motion. Unless a different time is set by local rule or the court
              orders otherwise, a party may file a motion for summary judgment at any time
              until 30 days after the close of all discovery.
       (c)    Procedures.
              (1)    Supporting Factual Positions. A party asserting that a fact cannot be or
                     is genuinely disputed must support the assertion by:
                     (A)     citing to particular parts of materials in the record, including
                             depositions, documents, electronically stored information,
                             affidavits or declarations, stipulations (including those made for
                             purposes of the motion only), admissions, interrogatory answers,
                             or other materials; or
                     (B)     showing that the materials cited do not establish the absence or
                             presence of a genuine dispute, or that an adverse party cannot
                             produce admissible evidence to support the fact.
              (2)    Objection That a Fact Is Not Supported by Admissible Evidence. A
                     party may object that the material cited to support or dispute a fact cannot
                     be presented in a form that would be admissible in evidence.
              (3)    Materials Not Cited. The court need consider only the cited materials,
                     but it may consider other materials in the record.
              (4)    Affidavits or Declarations. An affidavit or declaration used to support or
                     oppose a motion must be made on personal knowledge, set out facts that
                     would be admissible in evidence, and show that the affiant or declarant is
                     competent to testify on the matters stated.
       (d)    When Facts Are Unavailable to the Nonmovant. If a nonmovant shows by
              affidavit or declaration that, for specified reasons, it cannot present facts essential
              to justify its opposition, the court may:
              (1)    defer considering the motion or deny it;
              (2)    allow time to obtain affidavits or declarations or to take discovery; or
              (3)    issue any other appropriate order.
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(e)   Failing to Properly Support or Address a Fact. If a party fails to properly
      support an assertion of fact or fails to properly address another party’s assertion of
      fact as required by Rule 56(c), the court may:
      (1)    give an opportunity to properly support or address the fact;
      (2)    consider the fact undisputed for purposes of the motion;
      (3)    grant summary judgment if the motion and supporting materials —
             including the facts considered undisputed — show that the movant is
             entitled to it; or
      (4)    issue any other appropriate order.
(f)   Judgment Independent of the Motion. After giving notice and a reasonable time
      to respond, the court may:
      (1)    grant summary judgment for a nonmovant;
      (2)    grant the motion on grounds not raised by a party; or
      (3)    consider summary judgment on its own after identifying for the parties
             material facts that may not be genuinely in dispute.
(g)   Failing to Grant All the Requested Relief. If the court does not grant all the
      relief requested by the motion, it may enter an order stating any material fact —
      including an item of damages or other relief — that is not genuinely in dispute
      and treating the fact as established in the case.
(h)   Affidavit or Declaration Submitted in Bad Faith. If satisfied that an affidavit or
      declaration under this rule is submitted in bad faith or solely for delay, the court
      — after notice and a reasonable time to respond — may order the submitting
      party to pay the other party the reasonable expenses, including attorney’s fees, it
      incurred as a result. An offending party or attorney may also be held in contempt
      or subjected to other appropriate sanctions.
